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                                                                                Tçe    n/ i/œ,vl ''
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                      IN TH E U NITED STA TES DISTRIC T CO UR T              r JQ               cuuax
                     FO R TH E W ESTERN D ISTR IC T O F V IR G IN IA         Be       .        q
                                 C harlottesville D ivision                           P      C RK

 BETTY PW TC H ETTE,

        Plaintiff,                           CivilActionNo: 14 : g ,
                                                                   .




 V.
                                             Jury TrialD em anded
 R APIDA N SERV ICE
 AU TH O RITY ,

        Defendant.
                                      )

                                     CO M PLA IN T

        CO M ES N OW the Plaintiff,Betty Pritchette,by counsel,and m oves this Court

 forentryofjudpnentin herfavoragainstDefendantRapidan Service Authority,and in
 supportofherCom plaintstates as follow s:

                                    IN TR OD UCTION

               Plaintiff Betty Pritchette brings this action against D efendant Rapidan

 ServiceAuthoritypursuanttoTitleVIIoftheCivilRightsActof1964,42U.S.C.j2000
 Co.etseq.,forunlaw fuldiscrim ination based on her sex,the A m erieansW ith D isabilities

 Actof 1990,42 U.S.C.j 12101,c/seq.,for unlawfuldiscrimination based on her
 disability,and the Virginia W orkers'Compensation Act,Virginia Code j 65.2-100,et
 seq.,forunlaw fulretaliation.

                                          PA RTIES

               PlaintiffBetty Pritchette is a citizen and residentofthe Com m onw ea1th of

 Virginia and isa form erem ployee ofthe D efendantRapidan Service A uthodty.




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               D efendant Rapidan Service Autholity is a public corporation form ed and

 existing under the law s of the Com m onw ea1th of Virginia, and m aintains its plincipal

 place ofbusinessin Greene County,V irginia.

                             JU RISD ICTION AN D V EN U E

               ThisCourthasjurisdictionoverthismatterpursuantto28U.S.C.jj1331,
 1343,and 1367.

        4.     VenueisproperinthisDistrictpursuantto 28 U.S.C.j 1391(b)(2)inthat
 a substantial part of the events or om issions giving lise to the claim s in this action

 occurred in this District,and 28 U.S.C.j 1391(b)(1) in thatDefendantis deemed a
 residentofthisDistrictpursuantto28U.S.C.j1391(c).
                               FA CTUA L BA CK GR OUN D

                Plaintiff Betty Pritchette is a fem ale and a form er em ployee of the

 D efendantRapidan Service Authority.

                Plaintiff w as em ployed by D efendant Rapidan Service A uthority

 beginning on January 7,2008 asa m eter reader.

                Throughout the duration of her em plom ent w ith Rapidan Service

 Authority,Plaintiff s w ork perform ance w as excellent. A ûer w orking for only a couple

 of m onths,D efendantprom oted Plaintiff to the m aintenance departm ent. Plaintiff w as

 the only fem ale em ployee w orking in the m aintenance departm ent.

                OnJuly2,2009,Plaintiffinjured herback duringthecourseofperforming
 w ork forthe D efendant.Plaintit-ffiled for and received Virginia W orkers'Com pensation

 benefitsforthisinjury.Afterundergoingphysicaltherapy,Plaintiffreturned toworkwith




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 restrictions on or about Septem ber 3, 2009, and began work without restrictions on or

 aboutSeptem ber9,2009.

        9.     Plaintiffexperienced symptomsfrom herworkplaceback injury again in
 Febnlary or M arch of 2011, and was taken out of w ork by her physician in July,2011.

 Plaintifftiled forandreceivedVirginiaW orkers'Compensationbenetitsforthisinjury.
               Plaintiff underwent successful back surgery on October 14, 2011, and

 returned to w ork in February,2012. Plaintiff filed for and received V irginia W orkers'

 Compensationbenetitsforthisinjury.
                On M ay 21,2012,Plaintiffaggravated herback injury duling thecourse
 ofperform ing w ork forthe D efendant. Plaintiff s physician prescribed restand took her

 outofw ork. Plaintiff s physician released Plaintiffto perform lightduty w ork beginning

 on June 3, 2012, and work without restrictions beginning July 12, 2012. D efendant

 Rapidan Service A uthority did notprovide any lightduty w ork to Plaintiff.

                On or about M ay 31, 2012,Plaintiff notified her supervisor, Leo Davis,

 thatherdoctorhad released her to return to w ork perform ing lightduty beginning June 3,

 2012,and to return to w ork w ithoutrestrictionsbeginning July 12,2012.

                On July 6,2012,Plaintiffreceived a letter from Defendant dated July 5,

 2012 thatterm inated herem ploym ent.Plaintiffspoke w ith Defendant'sA ssistantG eneral

 M anager Tim Clem ons,and he stated thatthe D efendantcould nothold her m aintenance

 position open,and that she w ould need to re-apply for the position if she could return to

 work. D uring this phone call Plaintiff reiterated that she had been released to ret'ut'
                                                                                        n to

 work w ithoutrestrictionsbeginning July 12,2012,w hich w asonly six days aw ay.




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        14.    D uring this tim e period, D efendant perm itted a m ale em ployee in the

 m aintenance departm ent to take a tem porary leave of absence so that he could w ork for

 another em ployer.D efendant held the m ale em ployee's position open for him w ithout

 term inating his em ploym ent.

                ln order to substantiate her ability to perform the w ork required of the

 m aintenance position,and in response to the D efendant's statem ents that she could not

 perform the work, Plaintiff underw ent a functional capacity evaluation related

 specifically to the physical requirem ents of the m aintenance worker position w ith the

 D efendant. Plaintiff notified Defendant that the functional capacity evaluation w as

 scheduled.
          to occuronAugust1,2012,andtheDefendantprovided thejob requirements
 necessary to com plete the evaluation.Plaintiffpassed the functionalcapacity evaluation.

        16.     O n A ugust 27, 2012, Plaintiff's physician issued the results of the

 functional capacity evaluation clearing her to w ork in the m aintenance position w ith

 D efendantw ithoutrestrictions.

                O n August 28,2012, Plaintiff subm itted an application for em ploym ent

 w ith D efendant and attached the results ofthe functionalcapacity evaluation clearing her

 to work in the m aintenance position w ithout restrictions.Defendant had not hired any

 person to fillthe position asofthis date.

                On August          2012, Plaintiff called D efendant's A ssistant G eneral

 M anagerTim Clem ons to confinn thatD efendantreceived her application and functional

 capacity evaluation results show ing that she could perform the ftm ctions of the

 m aintenance position. D uring this conversation M r. Clem ons inform ed Plaintiff that

 Defendantcould notconsiderher forthe position because he intem reted the letter,w hich




                                  4
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 specifically stated that she could perform a1l of the work required of the m aintenance

 position withoutrestrictions,as containing restrictions.M r.Clem ons stated thatthe listof

 specific physicalrequirem ents,w hich w ere provided by D efendantto the physician and

 listed on the evaluation,were restrictions on her ability to perform thejob. Plaintiff
 im m ediately told him thathe was m isinterpreting the evaluation and thatthe item s listed

 on the evaluation w ere the criteria for the evaluation thatw ere specitically provided by

 D efendant.M r.Clem ons did not inform Plaintiff that D efendant had tilled the position

 during this conversation.

                On that sam e day,Plaintiff called herphysician and asked thathe send a

 letter to D efendant reiterating that she could perfonu the functions of the m aintenance

 position w ithoutrestrictions. Her physician faxed a letter to D efendant stating that she

 w as cleared w ithoutrestrictionsthatsam e day.

                O n A ugust 30, 2012, Plaintiff called Tim Clem ons to confilnn that

 D efendantreceived the letter from herphysician,and M r.Clem ons stated thatD efendant

 received the letter. During this conversation M r. Clem ons inform ed Plaintiff that

 Defendanthad extended an offer ofem ploym entto another applicantfor the m aintenanee

 position.

                D efendant eventually hired a m ale applicant who was less qualified than

 Plaintiffto perform the functionsofthe m aintenance position.

                     CO UN T l- U N LAW FUL D ISCR IM IN A TION
    (Violation ofTitleloftheAmericanswithDisabilitiesAct,42U.S.C.j 12112)
        22.     The Plaintiff incom orates by reference the allegations contained in

 paragraphs 1-21 as ifspecifically restated herein.




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        23.     A tal1tim es relevantherein,D efendantw as a ttcovered entity''w ithin the

 meaningof42 U.S.C.j 12112andsubjectto theanti-discdminationprovisionsofTitle1
 ofthe A m ericansw ith D isabilitiesA ct.

                A t all tim es relevant herein, Defendant w as an diem ployer'' w ithin the

 meaningof42U.S.C.j12111(5).
        25.     Atal1tim es relevantherein,Plaintiffw as an ûtem ployee''ofthe D efendant

 withinthemeaning of42U.S.C.j12115(4).
        26.     At all tim es relevant herein, Plaintiff w as a person w ith a çidisability''

 withinthemeaning of42U.S.C.j12102.
        27.     At al1tim es relevantherein,Plaintiffw as a ilqualified individual,''w ithin

 the meaning of 42 U.S.C.j 12111(8)in that she was able to perform the essential
 functions of her em ploym ent position w ith Defendant with or w ithout a reasonable

 accom m odation.

                Atal1timesrelevantherein,Plaintiffsjob performance metorexceeded
 D efendant's expectations and standards.

        29.     D efendant unlaw fully discrim inated against Plaintiff on the basis of her

 disability, in violation of the prohibitions contained in 42 U.S.C. j 12112, in the
 follow ing m anners:

            a. Lim iting,segregating,or classifying the Plaintiff in a w ay thatadversely

                affected heropportunities orstatusbecause ofherdisability'
                                                                         ,

            b. U tilizing standards, criteria, or m ethods of adm inistration that had the

                effectofdiscrim ination on the basis ofPlaintiff s disability;




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            c. N otm aking reasonable accom m odations to the know n physicalorm ental

                lim itationsofPlaintiff'
                                       ,

            d. D enying em ploym ent opportunities to the Plaintiff based on D efendant's

                need to m ake reasonable accom m odations to the Plaintiff s physical or

                m entalim pairm ents;

            e. U sing qualification standards,em ploym enttests,orother selection criteria

                thatscreened outthe Plaintiffasan em ployee;and

                Such otherm annersas the evidence m ay show attrial.

                Defendant's unlaw ful actions herein w ere com m itted w ith m alice or

 reckless indifference to Plaintiff s federally protected rights.

                A s a resultof D efendant's unlawful discrim ination,Plaintiff has suffered

 sipzificantinjuriesand damagesincluding lossofpastand futureincome,lostbenefits,
 emotionalpain,suffering,mentalanguish,lossofenjoymentoflife,litigation expenses
 includingattonwys'fees,andotherinjuriesanddamages.
                     CO UN T 11- U N LAW FUL D ISC R IM IN AT IO N
      (Violation ofTitleVlIoftheCivilRightsActof1964,42U.S.C.j2000e-2)
         32.    The Plaintiff incorporates by reference the allegations contained in

 paragraphs 1-31 as ifspecitically restated herein.

                A t al1 tim es relevant herein, D efendant w as an item ployer'' w ithin the

 detinition ofthattenn in 42 U.S.C.j2000einthatDefendantisaperson engaged in an
 industry affecting com m erce and has fiheen or m ore em ployees foreach w orking day in

 each oftw enty orm ore calendarw eeks in the currentorpreceding calendar year.

                At al1tim es relevantherein,Plaintiffw asan dûem ployee''of the D efendant

 withinthedefinitionofthatterm in42U.S.C.j2000e.



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        35. Ata1ltimesrelevantherein,Plaintiffsjob performancemetorexceeded
 D efendant's expectationsand standards.

        36.     D efendantterm inated Plaintiff sem ploym entbecause ofhersex.

                D efendant's stated reason for '
                                               term inating Plaintiff- that D efendant

 needed to fillthe position im m ediately- w as apretext.

        38.     D efendant did not term inate the em ploym ent of com parable m ale

 em ployeesw ho w ere on a leave ofabsence from work.

                In term inating Plaintiff s em ploym ent, D efendant deviated from its

 personnelpolicies and practices.

        40.     Defendant refused to hire Plaintiff because of her sex,and hired a less

 qualitied m ale applicant.

        41.     Defendant acted unlawfully in violation of 42 U.S.C. j 2000e-2 by
 discharging Plaintiff, and otherwise discrim inating against Plaintiff w ith respect to the

 term s,conditions and privilegesofem ploym entbecause ofPlaintiff ssex.

        42.     D efendant's unlaw ful actions herein were com m itted w ith m aliee or

 reckless indifference to Plaintiff'sfederally protected rights.

        43.     A s a resultof Defendant's unlaw fuldiscrim ination,Plaintiff has suffered

 signiticantinjuriesand damagesincluding lossofpastand futureincome,lostbenetits,
 emotionalpain,suffering,mentalanguish,lossofenjoymentoflife,litigation expenses
 includingattorneys'fees,andotherinjuriesanddamages.
                      C O UN T III- U NLA W FU L R ETALIA TIO N
     (ViolationoftheVirginiaW orkers'CompensationAct,Va.Code.j65.2-308)
        44.     The Plaintiff incorporates by reference the allegations contained in

 paragraphs 1-43 as ifspeeifcally restated herein.


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        45.     Plaintiff tiled and received W orkers'Com pensation benefits as a result of

 aworkplaceinjurythatoccurreddudngheremploymentwiththeDefendant.
        46.     D efendant w rongfully discharged Plaintiffbecause Plaintiff filed a claim

 tm derthe V irginia W orkers'Com pensation Act.

        47.     A s a result of D efendant's unlaw ful retaliation, Plaintiff has suffered

 signiticantinjuriesand damagesincluding lossofpastand futureincome,lostbenefits,
 emotionalpain,suffering,mentalanguish,lossofenjoymentoflife,litigation expenses
 includingattorneys'fees,andotherinjuriesanddamages.
                                      Prayer for Relief

        W H EREFOR E, Plaintiff Betty Pritchette respectfully requests that this Court

 enter judgment against Defendant Rapidan Service Authority and enter an Order
 aw arding the follow ing relief'
                                .

        a.      A ctualand com pensatory dam ages againstRapidan Service Authority for

                violating federaland state statutes enum erated herein;

        b.      Reinstatem ent of Plaintiff to her em ploym ent position w ith Rapidan

                Service A uthority;

                Frontpay;

        d.      B ack pay;

                Punitive dam ages;

                An aw ard ofreasonable attonw ys'fees and costs,including expertw itness

                fees;and

                SuchotherandfurtherreliefasthisCourtmaydeem just.




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                      PLAINTIFF REQUESTS TRIAL BY JURY.
                                      Respectfully subm itted,

                                      BETTY PR ITCH ETTE



                                      Byr-k-rr
  W illinm C.Tucker(VSB #40754)
  Tucker Law Firm ,PLC
  690 Berkm ar Circle
  Charlottesville,V irginia 22902
  (434)978-0100Phone
  (434)978-0101Fax
  bill.tucker@ tuckerlaN lc.com




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